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  February 11, 2022

                                                                           Joshua B. Frank
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  Special Master Thomas P. Scrivo
  O’Toole Scrivo, LLC
  14 Village Park Road
  Cedar Grove, NJ 07009

         Re:     Occidental Chemical Corp. v. 21st Century Fox Am., Inc.
                 Civil Action No. 2:18-cv-11273-MCA-LDW
                 Agenda for February 16, 2022 Status Conference

  Dear Special Master Scrivo:

          I write on behalf of defendant Conopco, Inc. (“Conopco”) to request that the scheduling of
  Conopco’s 30(b)(6) deposition be addressed at the upcoming monthly status conference on
  Wednesday, February 16, 2022. Occidental Chemical Corporation’s (“Occidental”) to date has
  not agreed to move the deposition from March 8, 2022, which is rapidly approaching. Conopco
  briefed this issue in letters to the Special Master dated February 4 (ECF No. 1968) and February
  8 (ECF No. 1973), and Occidental provided a response on February 8 (ECF No. 1972).

         Conopco thanks you for your time and attention to this matter.

                                               Sincerely,



                                               Joshua B. Frank
                                               Counsel for Conopco, Inc.




  Cc:    All counsel of record (via ECF)
